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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No.: 21-CR-537
                 v.                           :
                                              :
RYAN SAMSEL et al.,                           :
                                              :
               Defendants.                    :


                                 NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Christopher

Amore, as counsel for the United States, is terminating their appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                              By:    /s/ Christopher Amore
                                                     Christopher Amore
                                                     Detailed to the District of Columbia
                                                     Assistant United States Attorney
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                                                     Christopher.Amore@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 3rd day of May, 2022, a copy of the foregoing was served on counsel of record

for the defendant via the Court’s Electronic Filing System (ECF).



                                                     /s/ Christopher Amore
                                                    Christopher Amore
                                                    Assistant United States Attorney
